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                         IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF ARKANSAS
                                  WESTERN DIVISION


UNITED STATES OF AMERICA

         vs.                          4:09CR00278-07-WRW

SANTIAGO LOPEZ


                                               ORDER

         Pending is the Government’s Motion to Dismiss Without Prejudice the Second Superseding

Indictment as to the defendant Santiago Lopez (doc #275). The Motion is GRANTED. The Second

Superseding Indictment, as well as the pre-trial release supervision, is dismissed as to the defendant,

Santiago Lopez.

         IT IS SO ORDERED this 26th day of July, 2011.


                                                              /s/Billy Roy Wilson
                                                       UNITED STATES DISTRICT JUDGE




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